              THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:07cr32-1


UNITED STATES OF AMERICA                   )
                                           )
                                           )
           vs.                             )           ORDER
                                           )
                                           )
RODNEY LAMONT ALLEN.                       )
                                           )


     THIS MATTER is before the Court on the Defendant’s pro se motion,

filed December 7, 2011, regarding the return of property seized from the

Defendant during his arrest. [Doc. 210].

     On April 3, 2007, the Defendant was charged along with five co-

defendants in a Bill of Indictment with conspiracy to possess with intent to

distribute crack cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and 846.

[Indictment, Doc. 1]. At his initial appearance, attorney Janna Allison was

appointed to represent him. On July 9, 2007, the Defendant pled guilty to the

lesser offense of possession with intent to distribute crack cocaine.         On

January 28, 2008, he was sentenced to a term of 188 months of imprisonment

and five years of supervised release and ordered to pay a $100 assessment.




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[Judgment, Doc. 120]. The Defendant did not appeal his conviction or sentence.

      In his present motion, the Defendant asserts that at the time of his

arrest, $8,100.00 in cash was seized from his person by DEA agents. He

asks the Court to order Ms. Allison to file a motion for the return of this

property on his behalf.1

      The criminal proceeding against the Defendant has been completed and

thus he is no longer represented by counsel in this case. If the Defendant

desires to pursue the return of his property, he must do so pro se. To the

extent that the Defendant seeks an order requiring Ms. Allison file a motion on

his behalf, therefore, his motion is denied.

      To the extent that the Defendant’s motion can be construed as a pro se

motion for the return of property, the Court will order the Government to

respond thereto.




      1
         The Defendant asserts that he raised this issue previously with the Magistrate
Judge at a status of counsel hearing, and that the Magistrate Judge “ordered [his]
counsel to file the necessary motion to have the monies returned.” [Doc. 210 at 1]. A
review of the FTR recording of that hearing, which occurred on January 9, 2008, reveals
that the Defendant’s characterization of the Court’s instruction is not entirely accurate.
When the Defendant raised the issue of the seized property, counsel advised the Court
that she was not aware of the issue. The Magistrate Judge then asked counsel to “look
into” the matter, and counsel responded that she would.
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      IT IS, THEREFORE, ORDERED that the Defendant’s motion for an

Order to directing counsel to file a motion for return of property is hereby

DENIED.

      IT IS FURTHER ORDERED that the Government shall respond to the

Defendant’s request for the return of property within thirty (30) days of the

entry of this Order.

      IT IS SO ORDERED.               Signed: January 9, 2012




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